Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 1 of 9 PageID# 18395




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                             No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


                       MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANT GOOGLE LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C), Defendant Google LLC (“Google”) submits this

  Memorandum in Support of its Motion to Seal. Google seeks leave to file:

      ● Certain sealed exhibits to the Declaration of Bryon Becker in Support of Google LLC’s

         Replies in Support of Google LLC’s Motion for Summary Judgment and Motions to

         Exclude;

      ● Redacted version of Google LLC’s Reply in Support of Its Motion for Summary

         Judgment;

      ● Redacted version of Google’s Reply in Support of Its Motion to Exclude the Testimony

         of Prof. Robin S. Lee;

      ● Redacted version of Google’s Reply in Support of Its Motion to Exclude the Testimony

         of Dr. Timothy Simcoe;

      ● Redacted version of Google’s Reply in Support of Its Motion to Exclude the Testimony

         of Adoria Lim.




                                                1
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 2 of 9 PageID# 18396




         For the reasons stated below, Google respectfully requests that the Court grant the Motion

  to seal a narrow set of documents and information that implicates Google’s trade secrets and other

  highly sensitive and competitive business information.

                                        LEGAL STANDARD

          “When presented with a request to seal judicial records or documents, a district court must

  comply with certain substantive and procedural requirements.”1 Va. Dep’t of State Police v. Wash.

  Post, 386 F.3d 567, 576 (4th Cir. 2004). Substantively, the Court “must determine the source of

  the right of access with respect to each document.” Stone v. Univ. of Md. Med. Sys. Corp., 855

  F.2d 178, 180-81 (4th Cir. 1988). “The right of public access to documents or materials filed in a

  district court derives from two independent sources: the common law and the First Amendment.”

  Va. Dep’t of State Police, 386 F.3d at 575. “While the common law presumption in favor of access

  attaches to all judicial records and documents, the First Amendment guarantee of access has been

  extended only to particular judicial records and documents.” Stone, 855 F.2d at 180. Even so,

  public access to civil trial records “is not absolute,” and restrictions can be justified by concerns

  that such records “might . . . become a vehicle for improper purposes,” such as where the records

  serve “as sources of business information that might harm a litigant’s competitive standing.”

  Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). In particular, a corporation’s “strong

  interest in preserving the confidentiality of its proprietary and trade-secret information . . . may

  justify partial sealing of court records.” Doe v. Pub. Citizen, 749 F.3d 246, 269 (4th Cir. 2014).

         Procedurally, before allowing documents to be filed under seal, the Court must “(1) provide

  public notice of the request to seal and allow interested parties a reasonable opportunity to object,



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   With respect to quoted material, unless otherwise indicated, all brackets, ellipses, footnote call
  numbers, internal quotations, and citations have been omitted for readability. All emphasis is
  added unless otherwise indicated.
                                                   2
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 3 of 9 PageID# 18397




  (2) consider less drastic alternatives to sealing the documents, and (3) provide specific reasons and

  factual findings supporting its decision to seal the documents and for rejecting the alternatives.”

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).

                                             ARGUMENT

         Through its Motion, Google seeks to keep a narrow set of its confidential commercially

  sensitive information under seal. Google requests that this information remain under seal because

  Google would likely suffer substantial economic harm by its disclosure, outweighing the public’s

  right of access. Google respectfully requests that the Court grant Google’s Motion to Seal because

  its requests are narrowly tailored such that the public will still be able to understand the legal and

  general factual basis for Google’s motions. Sealing is appropriate under both the First Amendment

  and common-law standards.

         Google also requests sealing and redactions for information designated by Plaintiffs and/or

  non-parties as confidential. Google makes this sealing request in order to comply with its

  obligations under the Local Rules and Protective Order, but otherwise takes no position on whether

  those materials should remain sealed.

    I.   GOOGLE HAS COMPLIED WITH THE PROCEDURAL REQUIREMENTS FOR
         SEALING.

         Under the local rules, a party may file a motion to seal together with the proposed sealed

  filings. E.D. Va. Civ. R. 5(C). Before sealing a court record, a court must provide public notice,

  consider less drastic alternatives to sealing the documents, and provide specific reasons and

  findings supporting the decision to seal. Ashcraft, 218 F.3d at 302. Each of those procedural

  requirements have been met here.

         First, Google has provided public notice of its request to seal, and interested parties will

  have an opportunity to object. Individual notice is not required, and the Court may give adequate

                                                    3
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 4 of 9 PageID# 18398




  notice either by “notifying the persons present in the courtroom of the request to seal” at the time

  of the hearing, or by “docketing [the sealing request] in advance of deciding the issue.” In re

  Knight Publ’g Co., 743 F.2d 231, 235 (4th Cir. 1984). Pursuant to Local Civil Rule 5(C), Google

  has publicly filed a Notice of Motion to Seal. Entry of that Notice and the supporting documents

  onto the Court’s public docket will notify any interested parties of Google’s sealing motion and

  provide interested persons with “an opportunity to object.” Id.

         Second, Google has limited its sealing request to confidential material referenced in its

  memoranda and exhibits. In deciding whether to grant a sealing request, the Court must consider

  using redactions or limited sealing (either in scope or duration) in lieu of permanent, blanket

  sealing. Google has proposed using limited sealing measures—targeted and limited redactions—

  to protect its trade secrets and commercially sensitive business information. The proposed

  redactions will still provide the public access to Google’s memoranda, and legal arguments in

  support, while protecting Google’s trade secrets and commercially sensitive business information.

  See Philpot v. Indep. J. Rev., 2021 WL 5071504, at *1 (E.D. Va. Apr. 7, 2021) (granting motion

  to seal redacted documents filed in connection with summary judgment briefing as “this selective

  protection of information constitutes the least drastic measure of sealing confidential material”);

  United States ex rel. Carter v. Halliburton Co., 2011 WL 8204612, *3 (E.D. Va. Nov. 29, 2011)

  (limited redaction approved as opposed to “sealing the brief in toto”). Accordingly, Google has

  proposed the least drastic method to protect its highly sensitive confidential information and the

  public’s right of access.

         Third, as detailed in Section II, Google has provided the specific reasons supporting its

  sealing request. In accordance with Local Civil Rule 5(C), Google has provided a proposed order

  containing the required findings.



                                                   4
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 5 of 9 PageID# 18399




      II.   GOOGLE REQUESTS SEALING                       TRADE       SECRETS        AND     OTHER
            PROPRIETARY INFORMATION.

            Google seeks to seal certain confidential business information filed in connection with its

  summary judgment2 and Daubert motions. Documents filed in connection with a motion for

  summary judgment may remain sealed where there is “a compelling government interest” and the

  sealing is “narrowly tailored to serve that interest.” Rushford v. New York Mag., Inc., 846 F.2d

  249, 253 (4th Cir. 1988). Even where the more stringent First Amendment presumption applies,

  courts recognize that “private interests might also implicate higher values sufficient to override

  (or, in an alternative mode of analysis, to except the proceeding or materials at issue from) the

  First Amendment presumption of public access.” Level 3 Commc’ns, LLC v. Limelight Networks,

  Inc., 611 F. Supp. 2d 572, 580 (E.D. Va. 2009).

            As the Fourth Circuit has recognized, a “corporation may possess a strong interest in

  preserving the confidentiality of its proprietary and trade-secret information, which in turn may

  justify partial sealing of court records.” Doe, 749 F.3d at 269; see also Pittston Co. v. United

  States, 368 F.3d 385, 406 (4th Cir. 2004) (district court did not abuse its discretion in refusing to

  unseal documents containing confidential and proprietary business information filed in connection

  with summary judgment motion); Benedict v. Hankook Tire Co. Ltd., 323 F. Supp. 3d 747, 766

  (E.D. Va. 2018) (businesses may have a “compelling interest under the First Amendment test” in

  “protecting proprietary commercial information”). A “trade secret” may be any information, used

  for a business purpose, which gives the user an advantage over competitors who do not know it;

  therefore, the touchstone of a trade secret is secrecy. See Kewanee Oil Co. v. Bicron Corp., 416


  2
   While some of Google’s requested redactions pertain to information contained in documents filed
  solely in connection with its Daubert motions, and thus subject only to the common law right of
  access, that information nonetheless satisfies the First Amendment standard. See Knight., 743 F.2d
  at 235 (common law standard permits sealing “if the public’s right of access is outweighed by
  competing interests”).
                                                     5
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 6 of 9 PageID# 18400




  U.S. 470, 474-78 (1974). The value of a “trade secret” may be lost if it is published. Ruckelshaus

  v. Monstanto Co., 467 U.S. 986, 1002 (1984) (property right in trade secret “is extinguished” by

  public disclosure). This includes through public disclosure in the court record. See Religious

  Tech. Ctr. v. Lerma, 908 F. Supp. 1362, 1368-69 (E.D. Va. 1995) (trade secret status lost after

  having been in judicial file for 28 months and posted on internet).3

         Here, Google seeks limited sealing to protect its highly sensitive proprietary information,

  including confidential financial information, including profit and loss statements, specific

  customer pricing and other sensitive customer information, technical details of products, and

  analyses and data reflecting Google’s non-public, confidential data. District courts in the Fourth

  Circuit have sealed similar categories of information where the First Amendment right of access

  attaches. See, e.g., E. W., LLC v. Rahman, 2012 WL 3843657, at *3 (E.D. Va. Sept. 4, 2012)

  (“sensitive financial data, including gross profit data, the disclosure of which would be highly

  likely to cause significant harm to the [company’s] business competitive position”); Intelligent

  Verification Sys., LLC v. Microsoft Corp., 2014 WL 12659953, at *1 (E.D. Va. Dec. 22, 2014)

  (sealing “sensitive business information” attached to summary judgment motion); Hanwha Azdel,

  Inc. v. C&D Zodiac, Inc., 2013 WL 12314517, at *2 (W.D. Va. Aug. 7, 2013) (proposed

  “redactions contain confidential and proprietary commercial information, including information



  3
    State law and common law principles also broadly protect trade secrets. Under the Uniform
  Trade Secrets Act, a “trade secret” is defined as any “information, including but not limited to, a
  formula, pattern, compilation, program, device, method, technique, or process” that has
  “independent economic value, actual or potential, from not being generally known,” and that is
  subject to “reasonable” efforts to maintain confidentiality. See, e.g., Va. Code Ann. § 59.1-336
  (2019). Similarly, under long-standing common law principles, a “trade secret may consist of any
  formula, pattern, device or compilation of information which is used in one’s business, and which
  gives him an opportunity to obtain an advantage over competitors who do not know or use it.”
  Restatement (First) of Torts § 757, cmt. b (Am. L. Inst. 1939) (emphasis added). Under these
  universally recognized principles of law, a wide variety of other forms and species of business
  information have been protected as “trade secrets.”
                                                   6
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 7 of 9 PageID# 18401




  related to highly sensitive pricing and payment terms as well as product specifications”); HiQ

  Materials AG v. ICP Indus., Inc., 2023 WL 4842783, at *2 (M.D.N.C. June 28, 2023) (defendant

  “seeks to redact only proprietary business and customer information and trade secrets in the form

  of financial analyses, market research, pricing formulas, and highly sensitive customer needs and

  preferences”); 360 Mortg. Grp., LLC v. Stonegate Mortg. Corp., 2016 WL 4939308, at *1-2

  (E.D.N.C. Sept. 14, 2016) (“business techniques, the identification of . . . customers, and . . .

  finances” are “the type of confidential business information properly subject to protection”); SMD

  Software, Inc. v. EMove, Inc., 2013 WL 1091054, at *2-*3 (E.D.N.C. Mar. 15, 2013) (profit and

  loss statements, pricing, marketing strategies, expense information, market share, and customer

  information).

         In Appendix A, Google provides a non-confidential description of the material it is

  requesting remain under seal. Google is not seeking to keep any documents completely under seal

  and instead has proposed targeted, narrow redactions. Google’s proposed redactions are limited

  to its proprietary and confidential business information, disclosure of which could cause

  substantial economic harm.

  III.   GOOGLE REQUESTS SEALING OF DOCUMENTS PURSUANT TO LOCAL
         CIVIL RULE 5 AND THE PROTECTIVE ORDER.

         Google also requests sealing and redactions for information designated by Plaintiffs or non-

  parties as Confidential or Highly Confidential under the Protective Order in this case. ECF No.

  203, ¶ 20. Pursuant to the Protective Order, Google files those documents completely under seal.

  In some instances, as noted in Appendix A, Google requests that the Court seal discrete categories

  of Google’s confidential business information cited in Plaintiffs’ expert reports. But, except where

  those requests are specifically noted, Google does not take a position on whether the information

  referenced in its memoranda or the exhibits cited therein is of a type that outweighs the First


                                                   7
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 8 of 9 PageID# 18402




  Amendment presumption of public access. Google has only filed those materials designated by

  Plaintiffs or non-parties as Confidential or Highly Confidential completely under seal in order to

  comply with its obligations under paragraph 20 of the Protective Order. As stated in the notice

  filed concurrently with this memorandum, any interested member of the public and any other party

  may indicate their position on whether that information should remain under seal.

                                          CONCLUSION

         For the reasons argued above, the Court should grant the motion to seal. A proposed order

  is submitted herewith.




                                                  8
Case 1:23-cv-00108-LMB-JFA Document 713 Filed 05/31/24 Page 9 of 9 PageID# 18403




  Dated: May 31, 2024                  Respectfully submitted,

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                                       9
